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Attorneys for Defendant NIKE, INC.




                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


 KELLY CAHILL, SARA JOHNSTON,                 Case No.: 3:18-cv-01477-JR
 LINDSAY ELIZABETH, and HEATHER
 HENDER, individually and on behalf of others
 similarly situated,                          DECLARATION OF FELICIA A. DAVIS
                                              IN SUPPORT OF DEFENDANT NIKE,
                           Plaintiffs,        INC.’S OPPOSITION TO PLAINTIFFS’
                                              MOTION FOR CLASS CERTIFICATION
         v.
                                              [REDACTED VERSION]
 NIKE, INC., an Oregon Corporation,

         Defendant.




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               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION [REDACTED VERSION]
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                             DECLARATION OF FELICIA A. DAVIS

         I, Felicia A. Davis, declare and state as follows:

         1.       I am an attorney duly licensed to practice law in the State of California, and am

admitted pro hac vice to the District Court of Oregon. I am a partner at the law firm of Paul

Hastings LLP, counsel of record for Nike, Inc. in the above-captioned lawsuit. I have personal

knowledge of the facts contained herein, or know of such facts by my review of the files

maintained by Paul Hastings LLP in the normal course of its business, and if called upon to do

so, could and would competently testify thereto.
         2.       I submit this Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.


Putative Class Member Declarations:

         3.       Attached hereto as Exhibit 1 is a true and correct copy of Putative Class Member

Heather Amann’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         4.       Attached hereto as Exhibit 2 is a true and correct copy of Putative Class Member

Maggie Baird’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         5.       Attached hereto as Exhibit 3 is a true and correct copy of Putative Class Member

Jess Bond’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         6.       Attached hereto as Exhibit 4 is a true and correct copy of Putative Class Member

Rebecca Edington’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.




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         7.        Attached hereto as Exhibit 5 is a true and correct copy of Putative Class Member

Renee Hackenmiller-Paradis’ signed Declaration in Support of Defendant Nike, Inc.’s

Opposition to Plaintiff’s Motion for Class Certification.

         8.        Attached hereto as Exhibit 6 is a true and correct copy of Putative Class Member

Julia Hansen’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         9.        Attached hereto as Exhibit 7 is a true and correct copy of Putative Class Member

Michelle Harris’ signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         10.       Attached hereto as Exhibit 8 is a true and correct copy of Putative Class Member

Cheryl Hunter’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         11.       Attached hereto as Exhibit 9 is a true and correct copy of Putative Class Member

Chelsea Leenhouts’ signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.
         12.       Attached hereto as Exhibit 10 is a true and correct copy of Putative Class

Member Alyssa Levison’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         13.       Attached hereto as Exhibit 11 is a true and correct copy of Putative Class

Member Adrienne Lore’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to
Plaintiff’s Motion for Class Certification.

         14.       Attached hereto as Exhibit 12 is a true and correct copy of Putative Class

Member Kimberly Louder’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition

to Plaintiff’s Motion for Class Certification.

         15.       Attached hereto as Exhibit 13 is a true and correct copy of Putative Class

Member Kimberly Mack’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition

to Plaintiff’s Motion for Class Certification.

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         16.       Attached hereto as Exhibit 14 is a true and correct copy of Putative Class

Member Allison Nopper’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         17.       Attached hereto as Exhibit 15 is a true and correct copy of Putative Class

Member Akari Oda’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         18.       Attached hereto as Exhibit 16 is a true and correct copy of Putative Class

Member Kaitlyn Peale’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         19.       Attached hereto as Exhibit 17 is a true and correct copy of Putative Class

Member Cynthia Peele’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         20.       Attached hereto as Exhibit 18 is a true and correct copy of Putative Class

Member Kelly Ratchuk’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.
         21.       Attached hereto as Exhibit 19 is a true and correct copy of Putative Class

Member Taya Saxton’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         22.       Attached hereto as Exhibit 20 is a true and correct copy of Putative Class

Member Shannon Slaughter-Beveridge’s signed Declaration in Support of Defendant Nike,
Inc.’s Opposition to Plaintiff’s Motion for Class Certification.

         23.       Attached hereto as Exhibit 21 is a true and correct copy of Putative Class

Member Jessica Spencer’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         24.       Attached hereto as Exhibit 22 is a true and correct copy of Putative Class

Member Diana Stallard’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

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         25.       Attached hereto as Exhibit 23 is a true and correct copy of Putative Class

Member Jessica Thornton’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition

to Plaintiff’s Motion for Class Certification.

         26.       Attached hereto as Exhibit 24 is a true and correct copy of Putative Class

Member Ronni Worboys’ signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.


Nike, Inc. Recruiter Declarations:

         27.       Attached hereto as Exhibit 25 is a true and correct copy of Nike, Inc. Recruiter

Matthew Bowman’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         28.       Attached hereto as Exhibit 26 is a true and correct copy of Nike, Inc. Recruiter

Marc Caputo’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         29.       Attached hereto as Exhibit 27 is a true and correct copy of Nike, Inc. Recruiter

Ally Collins’ signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         30.       Attached hereto as Exhibit 28 is a true and correct copy of Nike, Inc. Recruiter
Andrew Croll’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         31.       Attached hereto as Exhibit 29 is a true and correct copy of Nike, Inc. Recruiter

Amber Dockter’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         32.       Attached hereto as Exhibit 30 is a true and correct copy of Nike, Inc. Recruiter

Sarah Fagan’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.


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         33.       Attached hereto as Exhibit 31 is a true and correct copy of Nike, Inc. Recruiter

Pamela Flores-Sandoval’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         34.       Attached hereto as Exhibit 32 is a true and correct copy of Nike, Inc. Recruiter

Chris Hopkins’ signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         35.       Attached hereto as Exhibit 33 is a true and correct copy of Nike, Inc. Recruiter

Kim Lozito’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         36.       Attached hereto as Exhibit 34 is a true and correct copy of Nike, Inc. Recruiter

Katelyn Mangan’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         37.       Attached hereto as Exhibit 35 is a true and correct copy of Nike, Inc. Recruiter

Lorise Morton’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.
         38.       Attached hereto as Exhibit 36 is a true and correct copy of Nike, Inc. Recruiter

Ryan Owen’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

         39.       Attached hereto as Exhibit 37 is a true and correct copy of Nike, Inc. Recruiter

Nichole Scire’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s
Motion for Class Certification.

         40.       Attached hereto as Exhibit 38 is a true and correct copy of Nike, Inc. Recruiter

Connor Snashall’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to

Plaintiff’s Motion for Class Certification.

         41.       Attached hereto as Exhibit 39 is a true and correct copy of Nike, Inc. Recruiter

Grace Yoon’s signed Declaration in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s

Motion for Class Certification.

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Other Declarations:

         42.       Attached hereto as Exhibit 40 is a true and correct copy of the Declaration of Mo

Matheson in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s Motion for Class

Certification.

         43.       Attached hereto as Exhibit 41 is a true and correct copy of the Declaration of

Jessica Stuckey in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s Motion for Class

Certification. Defendant Nike, Inc. previously produced this declaration to Plaintiff as part of

expert disclosure.

         44.       Attached hereto as Exhibit 42 is a true and correct copy of the Declaration of

Shine Thomas in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s Motion for Class

Certification.

         45.       Attached hereto as Exhibit 43 is a true and correct copy of the Declaration of

Shane Walker in Support of Defendant Nike, Inc.’s Opposition to Plaintiff’s Motion for Class

Certification.


Deposition Transcript Excerpts:

         46.       Attached hereto as Exhibit 44 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Lauren Anderson, taken on January 21 and

February 5, 2021.

         47.       Attached hereto as Exhibit 45 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Paige Azavedo, taken on January 29, 2021.

         48.       Attached hereto as Exhibit 46 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Christina Baumel, taken on January 26, 2021.

         49.       Attached hereto as Exhibit 47 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Plaintiff Kelly Cahill, taken on November 18, 2020.




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         50.       Attached hereto as Exhibit 48 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Alison Daugherty, taken on January 8, 2021.

         51.       Attached hereto as Exhibit 49 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Plaintiff Lindsay Elizabeth, taken on January 11, 2021.

         52.       Attached hereto as Exhibit 50 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Treasure Heinle, taken on March 16, 2021.

         53.       Attached hereto as Exhibit 51 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Plaintiff Heather Hender, taken on January 14, 2021.

         54.       Attached hereto as Exhibit 52 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Plaintiff Sara Johnston, taken on November 24, 2020.

         55.       Attached hereto as Exhibit 53 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Cindy Lea Linebaugh, taken on December 21,

2020.

         56.       Attached hereto as Exhibit 54 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Kathleen K. Lundquist, Ph.D., taken on September 10, 2021.
         57.       Attached hereto as Exhibit 55 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Monique Matheson, taken on February 22, 2021.

         58.       Attached hereto as Exhibit 56 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Julian Miller, taken on June 3, 2021.

         59.       Attached hereto as Exhibit 57 are true and correct copies of relevant excerpts and
exhibits from the Deposition of David Neumark, Ph.D., taken on August 31, 2021.

         60.       Attached hereto as Exhibit 58 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Donna Olson, taken on December 11 and

December 22, 2020.

         61.       Attached hereto as Exhibit 59 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Samantha Phillips, taken on December 1, 2020.



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         62.       Attached hereto as Exhibit 60 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Jessica Elizabeth Stuckey, taken on May 14, 2021.

         63.       Attached hereto as Exhibit 61 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Shine Thomas, taken on March 26, 2021.

         64.       Attached hereto as Exhibit 62 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Emily Tucker, taken on January 22, 2021.

         65.       Attached hereto as Exhibit 63 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Shane Walker, taken on December 17, December 18, and

December 21, 2020.

         66.       Attached hereto as Exhibit 64 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Opt-in Plaintiff Jessica L. Westerhof, taken on April 21, 2021.

         67.       Attached hereto as Exhibit 65 are true and correct copies of relevant excerpts and

exhibits from the Deposition of Shelli White, taken on January 29, 2021.


Deposition Exhibits and Other Productions:

         68.       Attached hereto as Exhibit 66 is a true and correct copy of email from Opt-in

Lauren Anderson to Geralyn Coopersmith on January 25, 2016, Bates numbered

NIKE_00030026-27, also produced as Exhibit 193 in the Deposition of Opt-in Plaintiff Lauren
Anderson.

         69.       Attached hereto as Exhibit 67 is a true and correct copy of Case Details, Nike-18-

03-0071, Bates numbered NIKE_00023458-60, also produced as Exhibit 206 in the Deposition

of Opt-in Plaintiff Lauren Anderson.

         70.       Attached hereto as Exhibit 68 is a true and correct copy of email from Jennifer

Nunez to Lauren Anderson and Myra Villamor on Thursday, April 5, 2018, Bates numbered

PLF_020860-62, also produced as Exhibit 207 in the Deposition of Opt-in Plaintiff Lauren

Anderson.


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       71.       Attached hereto as Exhibit 69 is a true and correct copy of email from Lauren

Anderson to Jennifer Nunez on Monday, August 6, 2018, Bates numbered PLF_00006252, also

produced as Exhibit 208 in the Deposition of Opt-in Plaintiff Lauren Anderson.

       72.       Attached hereto as Exhibit 70 is a true and correct copy of Opt-in Plaintiff

Samantha Phillips’ Job Application Information for Director, Information Risk Management-

CIS (00218215), Bates numbered NIKE_00013195-205, also produced as Exhibit 53 in the

Deposition of Opt-in Plaintiff Samantha Phillips.

       73.       Attached hereto as Exhibit 71 is a true and correct copy of Total Rewards

Fundamentals, Managing Pay At Nike, Exhibit 500 in the Deposition of Shane Walker, also

produced in native form at Bates numbered NIKE_00003191.

       74.       Attached hereto as Exhibit 72 is a true and correct copy of Total Rewards, FY17

PSP Brochure, Bates numbered NIKE_00019411-12, also produced as Exhibit 598 in the

Deposition of Shelli White.

       75.       Attached hereto as Exhibit 73 is a true and correct copy of Total Rewards, FY18

PSP Brochure, Bates numbered NIKE_00013312-13, also produced as Exhibit 601 in the
Deposition of Shelli White.

       76.       Attached hereto as Exhibit 74 is a true and correct copy of Performance Rewards:

PSP Award FAQs for Managers, Bates numbered NIKE_00030260-61, also produced as Exhibit

613 in the Deposition of Shelli White.

       77.       Attached hereto as Exhibit 75 is a true and correct copy of A Matter of Respect –
Nike’s Anti-Harassment & Anti-Discrimination Policy, Bates numbered NIKE_00001632-33.

       78.       Attached hereto as Exhibit 76 is a true and correct copy of CFE Rating

Collection, Bates numbered NIKE_00003242.

       79.       Attached hereto as Exhibit 77 is a true and correct copy of HR Readiness Internal

Website, Bates numbered NIKE_00013725.

       80.       Attached hereto as Exhibit 78 is a true and correct copy of Speak Up Portal,

Bates numbered NIKE_00013892.

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       81.       Attached hereto as Exhibit 79 is a true and correct copy of Report A Concern,

Bates numbered NIKE_00013896-97.

       82.       Attached hereto as Exhibit 80 is a true and correct copy of Nike, Inc.’s Code of

Conduct and Speak Up Portal, Bates numbered NIKE_00013940.

       83.       Attached hereto as Exhibit 81 is a true and correct copy of A Message From

Mark, Bates numbered NIKE_00013941.

       84.       Attached hereto as Exhibit 82 is a true and correct copy of Speak Up Portal, HR

Preview, Bates numbered NIKE_00013946-53.

       85.       Attached hereto as Exhibit 83 is a true and correct copy of Annual Pay Review,

Leader Toolkit, April 2019, Bates numbered NIKE_00014002-08.

       86.       Attached hereto as Exhibit 84 is a true and correct copy of Employee Relations

Playbook, Bates numbered NIKE_00015661-85.

       87.       Attached hereto as Exhibit 85 is a true and correct copy of A Matter of Respect –

Nike’s Anti-Harassment and Anti-Discrimination Policy Internal Website, Bates numbered

NIKE_00024288-91.
       88.       Attached hereto as Exhibit 86 is a true and correct copy of Inside the Lines 2019

Acknowledgement, Bates numbered NIKE_00026441.

       89.       Attached hereto as Exhibit 87 is a true and correct copy of Performance Rewards:

CFE Collection FAQs for Managers, Bates numbered NIKE_00026613-16.

       90.       Attached hereto as Exhibit 88 is a true and correct copy of Total Rewards, Talk
with me: Merit Pay, Bates numbered NIKE_00030704-06.

       91.       Attached hereto as Exhibit 89 is a true and correct copy of EEOC and Oregon

Bureau of Labor & Industries Charge of Discrimination, Sara Johnston, Bates numbered

PLF_000923-35.

       92.       Attached hereto as Exhibit 90 is a true and correct copy of November 23, 2020

Transmitting Letter, Cahill et al. v. Nike, Inc., Case No. 3:18-cv-01477-JR – Production of Data

Files with Employee Names and ID Numbers, from Felicia Davis to Plaintiffs’ Counsel.

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       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746 and the laws of the

United States of America and the State of California that the foregoing is true and correct.



       Executed this 25th day of March 2022, at Los Angeles, California.



                                                           /s/ Felicia A. Davis
                                                     ___________________________
                                                           Felicia A. Davis




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